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                                UNITED STATES DISTRICT COURT
20                            NORTHERN DISTRICT OF CALIFORNIA
21
      CHASOM BROWN, WILLIAM BYATT,                  Case No.: 4:20-cv-03664-YGR-SVK
22    JEREMY DAVIS, CHRISTOPHER
      CASTILLO, and MONIQUE TRUJILLO                PLAINTIFFS’ ADMINISTRATIVE
23    individually and on behalf of all similarly
      situated,                                     MOTION TO CONSIDER WHETHER
                                                    GOOGLE’S MATERIAL SHOULD BE
24                                                  SEALED
                    Plaintiffs,
25
      vs.
26
      GOOGLE LLC,
27
                    Defendant.
28

                                                       PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL
                                                                   Case No. 4:20-cv-03664-YGR-SVK
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1           Pursuant to Civil Local Rule 79-5, Plaintiffs respectfully ask the Court to consider whether
2    Google LLC’s (“Google”) material should be sealed. This material is included within Plaintiffs’
3    Reply in Support of Motion to Strike Portions of Google’s Reply In Support of Motion for
4    Summary Judgment (“Plaintiffs’ Reply”).
5     Document or Portion of Document               Party Claiming      Basis for Sealing
      Sought to Be Sealed                           Confidentiality
6     Portions highlighted in yellow of             Google              Refers to Material Designated
      Plaintiffs’ Reply                                                 “Confidential” and “Highly
7
                                                                        Confidential – Attorneys’ Eyes
8                                                                       Only” by Google pursuant to
                                                                        the Protective Order
9
            Pursuant to Civil Local Rule 79-5(f), Google, as the designating party, bears the burden of
10
     establishing that the designated material is sealable.
11

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     Dated: May 3, 2023                            Respectfully submitted,
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                                                   By: /s/ Mark Mao
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